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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-02594-RM-SKC

   UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

   v.

   MEDIATRIX CAPITAL INC., et al.,

           Defendants,

   And

   MEDIATRIX CAPITAL FUND LTD., et al.,

           Relief Defendants.

        REPORT OF RECEIVER’S ACTIVITIES FROM SEPTEMBER 11, 2020 THROUGH
                               DECEMBER 31, 2020

           TO THE HONORABLE RAYMOND P. MOORE, UNITED STATES DISTRICT

   JUDGE:

           COMES NOW, Brick Kane of Robb Evans & Associates LLC, and submits his Report of

   Receiver’s Activities for the period from the inception of the receivership estate, September 11,

   2020 through December 31, 2020, attached hereto as Exhibit 1.

                                                        Respectfully submitted,

   DATED: January 29, 2021                              /s/ Gary Owen Caris
                                                        Gary Owen Caris, Calif. Bar No. 088918
                                                        BARNES & THORNBURG LLP
                                                        2029 Century Park East, Suite 300
                                                        Los Angeles, CA 90067
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                                                        Attorneys for Brick Kane of Robb Evans &
                                                        Associates LLC, Receiver
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                             Brick Kane of Robb Evans & Associates LLC
                                             Receiver of
                                  Mediatrix Capital Fund LTD., et al.
                               REPORT OF RECEIVER'S ACTIVITIES
                            September 11, 2020 through December 31, 2020


   This report covers the activities of the Receiver1 since the inception of the receivership.
   Section XI of the Order Appointing Receiver (Doc. 153) (Order) directs the Receiver to file
   a quarterly report and accounting of the Receiver’s administration. This is the first report to
   the Court on the progress of the receivership. It does not constitute an audit of financial
   condition and is intended only to provide information for use by the Court in assessing the
   progress of the receivership.

   The Order specifies that the Quarterly Status Report shall contain the following:

   A.       A summary of the operations of the Receiver;
   B.    The amount of cash on hand, the amount and nature of accrued administrative
   expenses and the amount of unencumbered funds in the estate;
   C.    A schedule of all the Receiver’s receipts and disbursements (attached as Exhibit A to
   the Quarterly Status Report), with one column for the quarterly period covered and a second
   column for the entire duration of the receivership;
   D.     A description of all known Receivership Property, including approximate or actual
   valuations, anticipated or proposed dispositions, and reasons for retaining assets where no
   disposition is intended;
   E.      A description of liquidated and unliquidated claims held by the Receivership Estate,
   including the need for forensic and/or investigatory resources; approximate valuations of
   claims; and anticipated or proposed methods of enforcing such claims (including likelihood
   of success in: (i) reducing the claims to judgment; and, (ii) collecting such judgments);
   F.       A list of all known creditors with their addresses and the amounts of their claims;
   and,
   G.     The Receiver's recommendations for a continuation or discontinuation of the
   receivership and the reasons for the recommendations.

   1Reference to the Receiver in this report means the Receiver, the Receiver’s deputies, the Receiver’s staff, and his
   counsel.


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   Summary of Operations
   Immediately after the Court issued the Order, the Receiver began service of the Order on all
   known financial institutions and other asset holders2. In some instances, multiple follow-up
   email and telephone calls with financial institutions were necessary to ensure compliance with
   the Order. As of December 31, 2020, all but one financial institution complied with the Order.
   The remaining financial institution turned over $1,741,037.38 on January 22, 2021.
   The Receiver filed miscellaneous actions under 28 U.S. Code § 754 in the District Court of
   Arizona, the Eastern and Northern Districts of Texas, and the District of Puerto Rico.
   The Receiver also filed two Notices of Lis Pendens with respect to two parcels of real property
   in Arizona discussed below, in order to prevent their improper further transfer or
   encumbrance.
   The Receiver has had conversations with each of the three individual defendants to ascertain
   the status of and issues regarding real property assets, personal property assets, and other
   assets. In addition, the Receiver has obtained preliminary title reports and appraisals for the
   real property discussed in this report. All of the real property the Receiver has taken control
   of has been listed for sale.
   The Receiver has communicated with the Plaintiff and other governmental authorities in
   carrying out his duties under the Order.
   Mediatrix Capital Fund Ltd. maintained at least one bank account in the Bahamas. The
   Receiver was informed that Kevin G. Cambridge, Prince A. Rahming and Jess Shakespeare
   were appointed by the Bahamas Supreme Court as Joint Official Liquidators of the Company.
   The Receiver has had experience dealing with two of the Liquidators on another matter and
   has, at the request of the Liquidators, participated in periodic informational calls with them on
   this matter.

   The amount of cash on hand, the amount and nature of accrued administrative
   expenses and the amount of unencumbered funds in the estate
   As of December 31, 2020, the Receiver was holding $6,950,920.78 net of $115,234.76 in
   accrued and unpaid fees and costs. As detailed on Exhibit A, accrued and unpaid fees and
   costs for the Receiver and his staff total $49,117.29. Also as detailed on Exhibit A, accrued
   and unpaid fees and costs for the Receiver’s counsel total $66,117.47. A motion for approval
   of fees and costs for this period of the receivership will be filed not later than March 16, 2021
   as provided by the Order.


   2 Upon learning that the United States Attorneys’ Office for the District of Colorado is pursuing, liquidating and
   recovering what otherwise would be receivership assets located outside of the United States, the Receiver ceased efforts
   to marshal overseas assets so as to avoid unnecessary expense and duplication of effort.

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   Schedule of Receipts and Disbursements
   Attached at Exhibit A is the Receivership’s Administrative Report that details receipts and
   disbursements by month (pages 1-4). Exhibit A also details receipts and disbursements by
   defendant and the Receiver’s fees and costs by billing codes required by the Securities and
   Exchange Commission.
   Description of all known Receivership Property
   Real Property
   The chart below lists all of the domestic real property with a status for each property.
    Defendant               Address                             Valuation Status           Liens       Current Status
                                                                                           Recorded

    Bryant Sewall and       1201 Lloyd's Road Little Elm,       Two appraisals have been   None.       Listed for sale at $3,400,000.
    Hanna Ohonkova Sewall   TX                                  obtained.
    Bryant Sewall and       1197 Lloyds Road Little Elm,        Two appraisals have been   None.       Listed for sale at $149,900.
    Hanna Ohonkova Sewall   TX                                  obtained.
    Michael Stewart and     8082 E Arroyo Hondo Rd                                                     Personal residence. The
    Victoria M. Stewart     Scottsdale AZ                                                              Receiver has not taken control as
                                                                                                       yet.
    Michael Stewart and     8221 Sheridan St. Scottsdale,       Two appraisals have been   1st TD      Listed for sale at $530,000.
    Victoria M. Stewart     AZ                                  obtained.                  $364,700.   Multiple offers have been
                                                                                                       received.
    Michael Stewart and     7349 Casitas Del Rio                Two appraisals have been   1st TD      Listed for sale at $544,000.
    Victoria M. Stewart     Scottsdale, AZ                      obtained.                  $350,000    Multiple offers have been
                                                                                                       received.
    Michael Young and       5406 S. Cottonwood Ct.                                                     Personal residence. The
    Maria C. Young          Greenwood Village, CO                                                      Receiver has not taken control as
                                                                                                       yet.
    Michael Young and       4 lots in Port Charlotte, Florida   Two appraisals have been   None.       Listed for sale at $48,000 for all
    Maria C. Young                                              obtained.                              4 lots. Multiple offers were
                                                                                                       received. A sale contract was
                                                                                                       signed and escrow has been
                                                                                                       opened.



   1201 Lloyd's Road Little Elm, TX
   This is a 19.5 acre property that includes two residences, operating wells, and operating aerobic
   and regular septic tank systems. The main residence includes 2,911 square feet on two levels
   with an attached 1,100 square-foot garage / workshop and a detached 700 square-foot carport
   and storage structure. The second residence includes 1,442 square feet with no garage. Both
   residences have lake frontage.
   1197 Lloyds Road Little Elm, TX
   This property is a 1.0 acre lot improved with a good quality metal building with four rollup
   doors. There is no residence, water service, or operating septic tank system. There is a non-
   operating well.

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   8221 Sheridan St. Scottsdale, AZ
   This is a 2499 square foot single-story single-family residence built in 1959 and located on an
   8948 square foot lot. The residence has four bedrooms, three bathrooms, a two-car garage,
   and a swimming pool.
   The interior of the home was gutted and remodeling was commenced prior to the Receiver’s
   appointment. The Receiver solicited and analyzed various valuations and the highest
   projected cost to complete the renovation of $100,000 appears to be understated. This
   amount is possibly adequate for an on-site owner supervising the renovations and/or doing
   the renovations himself, however utilizing experienced, licensed, skilled labor could increase
   these remodeling costs to $160,000. There is also a potential unknown cost for mold
   remediation.
   After careful analysis, the Receiver decided to list the property in an “as is” condition and not
   to proceed with completing the renovation because the potential sale price after completing
   the renovation would add little, if any, benefit to the receivership estate.
   7349 Casitas Del Rio Scottsdale, AZ
   This is a two-story 1957 square foot condominium townhouse built in 2018 and located on an
   1809 square foot lot. The residence has three bedrooms, two and one-half bathrooms, a two-
   car garage, and is located in a planned community with a swimming pool. The interior of the
   home has been recently remodeled.
   Lots in Port Charlotte, Florida
   This property is 1.023 acres of raw land, consisting of four contiguous, tied lots zoned for
   multi-family use.
   Personal Property

   Michael Young and Maria Young

   Mr. Young listed the personal property below on a sworn financial statement. The Receiver
   discussed the personal property items with Mr. Young and decided to defer taking control of
   the two vehicles due to Mr. Young’s family needs. In addition, Mr. Young assured the
   Receiver that all of the jewelry is in a safe deposit box and that he would not access that box
   without the Receiver’s consent.
    2016 Audi A8                         $91,775 (purchase price)
    Honda Odyssey                        $54,597 (purchase price)
    Tennis bracelet                      $6,205.25
    Amythyst bracelet                    $926.68
    Tanzanite ring                       $5,727


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    Tanzanite pendant                      $1,193
    Diamond bracelet                       $15,882
    Diamond earrings                       $6,075
    Emerald ring                           $3,600
    3 gold bracelets                       $2,100
    Small diamond                          $1,199
    Diamond necklace                       $2,999
    Silver bracelet                        $129
    Silver necklace                        $199
    Emerald earrings                       $9,400
    Emerald pendant                        $3,038
    Gold necklace and crucifix             $8,100
    Gold bracelet: approximately           $3,000
    Cartier watch                          $3,500 (2002)
    Engagement ring                        $10,500
    Pearl necklace                         $2,750
    Yamaha piano                           purchase price : $9,000
    Large sectional couches                purchase price :$7,026
    Sectional couch and two chairs         purchase price :$13,554
    Large dining table with 10 chairs      purchase price : $8,287
    Children’s “gorilla” outdoor playset   purchase price : $2,300
    King bed frame                         purchase price : $1,873
    Mattress                               purchase price : $3,500
    Dresser                                purchase price :$2,142
    Plasma TV                              purchase price : $3,299


   Bryant Sewall and Hanna Ohonkova Sewall

   The Receiver maintains custody and/or control of personal property of Bryant Sewall. The
   personal property includes the following vehicles and items.

   Vehicles stored in the attached garage at 1201 Lloyds Road:
      1. 1993 GMC Typhoon, purchased 3/8/17. There are no liens. Estimated current
          value: $12,000 to $18,000.
      2. 2006 BMW M3, purchased 8/18/17. There are no liens. Estimated current value:
          $12,000 to $18,000.
      3. 2014 Dodge Ram, purchased 8/5/16. There is a reported delinquent lien of $11,000.
          Estimated current value: $12,000-$15,000.

   Vehicle Bryant Sewall Previously Released to Sewall’s friend in Plano Texas:



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      4. 2012 Jeep Wrangler, purchased 8/5/16. The current lien balance is $6,600. The
         current value is $16,000. Sewall’s friend makes monthly payments of $606 and he has
         agreed to purchase the vehicle for the current value.

   Boating and water recreation items stored in the carport storage structure at 1201 Lloyds
   Road:
      5. 2012 15-foot jet boat purchased September 2016. There are no liens. The reported
         current value is $10,000.
      6. Two Seadoo Sparks Jet Skis. There are no liens. The reported current value is
         $4,000.

   Four Items of Kubota Farm Equipment Stored in the Metal Building at 1197 Lloyds Road:

      7. ATV, two turn mowers, and tractor. All of these items were purchased 9/29/18 for
         $59,930. There is a delinquent lien $36,000. There is a current offer to purchase all
         of the equipment for $28,000. The Receiver has offered to return the equipment to
         the lender and a response is pending.

   The personal property of Bryant Sewall also includes personal furniture, appliances, kitchen
   and other utensils, and personal clothing stored in the main residence at 1201 Lloyds Road.
   There are no liens and the current value is unknown.

   Mr. Sewall and his wife, Relief Defendant Hanna Ohonkova Sewall, brought a motion
   requesting certain assets to be released for living expenses and attorneys’ fees. Although the
   motion was unclear, it appears that much of the Sewalls’ personal property was requested to
   be released. The Receiver did not make any decision with respect to the liquidation of
   personal property until that motion was resolved. After this reporting period, the Court denied
   the Sewalls’ motion. In light of the denial of their motion, the Receiver is now determining
   his next steps with respect to their personal property.

   Michael Stewart and Victoria M. Stewart

   Mr. Stewart listed the personal property below on a sworn financial statement (Doc. 28-2).

    2018 Chevrolet Tahoe                purchase Price: $72,000
    2016 Jeep Wrangler                  purchase Price: $25,000
    2018 Golf Cart                      $15,000
    2015 Golf Cart                      Acquired with the house; $2,000 value (older and rusted
                                        out)
    2018 Range Rover                    purchase price: $127,000
    Furniture and Fixtures              $45,000
    2 sofas and lounges
    2 dining tables
    3 TVs

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    2 hutches
    Miscellaneous art work
    4 deer mounts
    3 bedroom sets
    2 Breitling watches                   $4,500 and $5,500
    bracelet                              2000
    bracelet                              $2,500
    bracelet                              $2,500
    necklace                              2500
    Gold coin ring                        $4,400
    2008 Dodge 4X4 flatbed truck          purchased in 2014 for $24,000
    2 bicycles                            2,000 each purchased 2 years ago
    Patio furniture                       $800
    Custom Nosler rifle                   purchased at auction from Guardian Group for
                                          $9,400
    Clothing                              $10,000


   In addition, the Stewarts listed a substantial amount of personal property in Exhibit E to their
   motion for release of certain assets for the payment of living expenses and attorneys’ fees
   (Doc. 192-6). Much of this personal property is different than the personal property listed in
   the sworn statement. It is unclear what, if any, of the personal property listed in Exhibit E
   to their motion is the same as the personal property listed in the sworn statement. While the
   motion was unclear, it appears that the Stewarts sought the release of the personal property
   listed in Exhibit E to the motion. After this reporting period, the Court denied the Stewarts’
   motion. In light of the denial of their motion, the Receiver is now determining his next steps
   with respect to the Stewarts’ personal property, including the assets listed on the sworn
   statement and the assets listed in their unsuccessful motion.

   Liquidated and Unliquidated Claims
   The Receiver is evaluating the potential liquidated and unliquidated claims pertaining to Equiti
   US LLC, Equiti Capital UK Limited and Equiti Armenia CJSC (collectively, “Equiti”).
   Regarding the liquidated claims against Equiti, a total of $12,939,858 was generated from the
   liquidation of open positions in trading accounts at Equiti. Of this amount, the Receiver
   understands that Equiti is prepared to turn over to the Receiver the sum of $9,426,411, but
   Equiti asserts that the balance of funds which were generated from the liquidation, in the sum
   of $3,513,447, are subject to setoff rights. Plaintiff, the United States Department of Justice
   through the United States Attorney for the District of Colorado and the Receiver assert that
   Equiti is not entitled to assert rights of setoff and that the entire $12,939,858 is required to be
   paid by Equiti. The Receiver understands that the Plaintiff has been in communications with
   counsel for Equiti about the funds held by Equiti which have been frozen, but no resolution

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   of this issue has been reached as yet. As noted above, the Receiver is not handling the efforts
   to repatriate these funds.
   Regarding unliquidated claims, the Receiver is evaluating potential litigation claims which the
   Receiver may have against Equiti in connection with Equiti’s involvement as broker for the
   Receivership Defendants. Based on the status of its evaluation and for tactical reasons, at
   present the Receiver is not prepared to discuss the potential value of such claims or to discuss
   any other details with respect to such claims. The Receiver anticipates that it would be
   necessary to bring litigation to enforce such claims and would seek Court approval before
   commencing such litigation.
   Creditor List
   The Plaintiff provided a list of investors to the Receiver, but the Receiver does not believe it
   is appropriate to disseminate a public list of the names and addresses of the investors, as
   unnecessarily invasive of their privacy rights and because it potentially exposes them to the
   risk of further harm as potential victims by other unscrupulous persons and entities who often
   prey on prior victims of financial fraud. In any event, the Receiver notes that the Order does
   not appear to empower the Receiver to propose claims allowance and distribution procedures
   for creditors, including the investors who may have been defrauded. At the appropriate time,
   the Receiver intends on discussing this issue with the Plaintiff and, if necessary, seeking
   instructions from the Court.
   Attached at Exhibit B is a preliminary list of non-investor creditors. The Receiver is aware
   there are other creditors and is working to develop a more comprehensive list.
   Receiver's Recommendation as to Continuation of Receivership
   The Receiver recommends continuing the receivership in order to liquidate and maximize the
   value of the real property and tangible and intangible personal property assets that have value
   for the receivership estate and that are discussed in this report.

   Respectfully Submitted,

          /s/

   Brick Kane of Robb Evans & Associates LLC
   Receiver




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             EXHIBIT A
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                        B. Kane of Robb Evans & Associates LLC,
                      Receiver of SEC v. Mediatrix Capital Inc. et al.
                                    Receivership Administrative Report
                                From Inception (September 11, 2020) to December 31, 2020

                                                    Sep 20         Oct 20         Nov 20     Dec 20     TOTAL
Funds Collected
   Defendant & Corporate Funds
       A.L.A. Trust
           Wells Fargo Bank NA Clearing                 0.00             0.00    24,730.41      0.00     24,730.41
       Total A.L.A. Trust                               0.00             0.00    24,730.41      0.00     24,730.41


       BLUEISLE_WL
         Advanced Markets (UK) Ltd x1818                0.00      853,940.57          0.00      0.00    853,940.57
       Total BLUEISLE_WL                                0.00      853,940.57          0.00      0.00    853,940.57


       BLUEISLE2_WL
         Advanced Markets (UK) Ltd x1822                0.00       50,000.00          0.00      0.00     50,000.00
       Total BLUEISLE2_WL                               0.00       50,000.00          0.00      0.00     50,000.00


       Bryant E. Sewall
          Banco Popular xxxx8741                        0.00            0.00    112,188.44      0.00    112,188.44
          Navy Federal CU xxxx7026                      0.00            0.00          5.02      0.00          5.02
          Navy Federal CU xxxx7165                      0.00          452.20          0.00      0.00        452.20
          Service Credit Union xxx86                  181.26            0.00          0.00      0.00        181.26
       Total Bryant E. Sewall                         181.26          452.20    112,193.46      0.00    112,826.92


       Island Technologies LLC
           Banco Popular xxxx0862                       0.00             0.00       500.00      0.00        500.00
           Banco Popular xxxx0846                       0.00             0.00       500.00      0.00        500.00
           Banco Popular xxx9329                        0.00             0.00        15.00      0.00         15.00
           Banco Popular xxx9027                        0.00             0.00    61,564.52      0.00     61,564.52
       Total Island Technologies LLC                    0.00             0.00    62,579.52      0.00     62,579.52


       Keystone Business Trust
          BBVA Compass xxxx3921                         0.00        10,239.84         0.00      0.00      10,239.84
          BBVA Compass xxxx3827                         0.00     1,359,337.46         0.00      0.00   1,359,337.46
       Total Keystone Business Trust                    0.00     1,369,577.30         0.00      0.00   1,369,577.30


       Michael & Victoria Stewart                   3,905.42             0.00         0.00      0.00       3,905.42
       Michael Stewart
          Banco Popular xxxx1784                        0.00            0.00     30,050.66      0.00     30,050.66
          Hughes Federal CU xxx6503                     0.00           68.64          0.00      0.00         68.64
          Wells Fargo Bank xxxx9286                     0.00          450.91          0.00      0.00        450.91
       Total Michael Stewart                            0.00          519.55     30,050.66      0.00     30,570.21


       Michael Young
          Banco Popular xxxx9843                        0.00            0.00    262,773.38      0.00    262,773.38
          Key Bank xxxx6425                             0.00        5,334.52          0.00      0.00      5,334.52
          Key Bank xxxx7726                             0.00       25,934.98          0.00      0.00     25,934.98
       Total Michael Young                              0.00       31,269.50    262,773.38      0.00    294,042.88




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                        B. Kane of Robb Evans & Associates LLC,
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                                    Receivership Administrative Report
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                                                    Sep 20         Oct 20         Nov 20     Dec 20      TOTAL


       Sale of PR Property
           Drohan Lee LLP                               0.00     1,870,674.53         0.00       0.00   1,870,674.53
       Total Sale of PR Property                        0.00     1,870,674.53         0.00       0.00   1,870,674.53


       Sandy Toes LLC
          Drohan Lee LLP                                0.00     2,434,590.35         0.00       0.00   2,434,590.35
       Total Sandy Toes LLC                             0.00     2,434,590.35         0.00       0.00   2,434,590.35


       Victoria Stewart
           Wells Fargo Bank xxxx9200                    0.00          500.96          0.00       0.00        500.96
       Total Victoria Stewart                           0.00          500.96          0.00       0.00        500.96


       West Beach LLC
          Banco Popular xxxx5590                        0.00             0.00     5,662.86       0.00       5,662.86
       Total West Beach LLC                             0.00             0.00     5,662.86       0.00       5,662.86


   Total Defendant & Corporate Funds                4,086.68     6,611,524.96   497,990.29       0.00   7,113,601.93

   Interest Income                                      0.01          344.36        790.42    833.37        1,968.16
Total Funds Collected                               4,086.69     6,611,869.32   498,780.71    833.37    7,115,570.09


Expenses
   Real Property Expenses
      1197 Lloyds Rd Little Elm, TX
           Appraisal                                    0.00            0.00          0.00   1,200.00      1,200.00
           Electricity                                  0.00            0.00         24.64      10.50         35.14
       Total 1197 Lloyds Rd Little Elm, TX              0.00            0.00         24.64   1,210.50      1,235.14


       1201 Lloyds Rd. Little Elm, TX
           Appraisal Services                           0.00            0.00          0.00   1,750.00      1,750.00
           Electricity
               2 Story House                            0.00            0.00        117.07    159.92         276.99
               Barn                                     0.00            0.00         20.50     10.50          31.00
               Garage Apt                               0.00            0.00         80.47     71.67         152.14
               Point                                    0.00            0.00         20.59     13.06          33.65
           Total Electricity                            0.00            0.00        238.63    255.15         493.78


           Insurance                                    0.00          193.17      1,163.22      0.00        1,356.39
           Lawn and Yard Maintenance                    0.00            0.00        356.00      0.00          356.00
           Maintenance                                  0.00            0.00          0.00    285.00          285.00
       Total 1201 Lloyds Rd. Little Elm, TX             0.00          193.17      1,757.85   2,290.15      4,241.17


       5406 S. Cottonwood Ct.
           Property Taxes                               0.00            0.00     11,390.43       0.00     11,390.43
       Total 5406 S. Cottonwood Ct.                     0.00            0.00     11,390.43       0.00     11,390.43


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                        B. Kane of Robb Evans & Associates LLC,
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                                From Inception (September 11, 2020) to December 31, 2020

                                                    Sep 20         Oct 20         Nov 20     Dec 20       TOTAL


      7439 Casitas Del Rio Dr AZ
          Mortgage                                      0.00            0.00          0.00   23,969.54     23,969.54
          Appraisal Services                            0.00            0.00      1,200.00        0.00      1,200.00
          Insurance                                     0.00           74.55        372.74        0.00        447.29
          Locksmith Services                            0.00            0.00        369.72        0.00        369.72
      Total 7439 Casitas Del Rio Dr AZ                  0.00           74.55      1,942.46   23,969.54     25,986.55


      8221 E Sheridan Scottsdale, AZ
          Appraisal Services                            0.00            0.00      1,725.00        0.00       1,725.00
          Insurance                                     0.00           30.95        309.45        0.00         340.40
          Locksmith Services                            0.00            0.00        493.72        0.00         493.72
      Total 8221 E Sheridan Scottsdale, AZ              0.00           30.95      2,528.17        0.00       2,559.12


      Port Charlotte, FL Lots
          Appraisal Fees                                0.00            0.00        550.00        0.00        550.00
          Insurance                                     0.00            0.00          9.68        0.00          9.68
          Property Taxes                                0.00            0.00      3,442.46        0.00      3,442.46
      Total Port Charlotte, FL Lots                     0.00            0.00      4,002.14        0.00      4,002.14


   Total Real Property Expenses                         0.00          298.67     21,645.69   27,470.19     49,414.55


   Fund Balance 12/31/20                                                                                 7,066,155.54


   Receiver Fees & Costs (Accrued & Unpaid)
      Fees
          Receiver
              B. Kane                               2,291.40        3,112.20      1,504.80    1,231.20      8,139.60
          Total Receiver                            2,291.40        3,112.20      1,504.80    1,231.20      8,139.60


          Deputies
             A. Jen                                 5,472.00        2,394.00        786.60      273.60      8,926.20
             C. Callahan                            5,377.50        2,362.50      3,532.50    1,710.00     12,982.50
             C. DeCius                                 36.45          121.50      1,154.25      413.10      1,725.30
             H. Jen                                    15.00            0.00          0.00        0.00         15.00
             K. Johnson                                 0.00        3,454.20      6,327.00    3,864.60     13,645.80
             T. Chung                                 783.90            0.00      2,592.90        0.00      3,376.80
          Total Deputies                           11,684.85        8,332.20     14,393.25    6,261.30     40,671.60


      Total Fees                                   13,976.25       11,444.40     15,898.05    7,492.50     48,811.20


      Receiver Costs
         Website Support                              226.24           79.85          0.00        0.00        306.09
      Total Receiver Costs                            226.24           79.85          0.00        0.00        306.09




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                        B. Kane of Robb Evans & Associates LLC,
                      Receiver of SEC v. Mediatrix Capital Inc. et al.
                                  Receivership Administrative Report
                             From Inception (September 11, 2020) to December 31, 2020

                                                  Sep 20        Oct 20         Nov 20     Dec 20        TOTAL


       Legal Fees & Costs
          Barnes & Thornburg LLP
              Legal Fees                        18,186.95       15,176.45     10,589.45   12,981.05      56,933.90
              Legal Costs                          546.03          331.70         98.08      461.72       1,437.53
          Total Barnes & Thornburg LLP          18,732.98       15,508.15     10,687.53   13,442.77      58,371.43


          Engelman Berger, PC
             Legal Costs                             0.00           98.54          0.00        0.00          98.54
             Legal Fees                              0.00        5,899.50      1,748.00        0.00       7,647.50
          Total Engelman Berger, PC                  0.00        5,998.04      1,748.00        0.00       7,746.04


       Total Legal Fees & Costs                 18,732.98       21,506.19     12,435.53   13,442.77      66,117.47
   Total Receiver Fees & Costs(Accrued &
   Unpaid)                                      32,935.47       33,030.44     28,333.58   20,935.27     115,234.76


Fund Balance Net of Accrued and Unpaid Expenses                                                       6,950,920.78




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                                                             Receivership Administrative Report - by Class
                                                               From Inception (September 11, 2020) to December 31, 2020

                                                                                                                   Island
                                                                                    A.L.A.      Blue Isle       Technologies       Keystone       Salve Regina   Sandy Toes   West Beach
                                           Sewall       Stewart       Young         Trust      Markets Ltd.         LLC          Business Trust       Trust         LLC         LLC
Funds Collected
   Defendant & Corporate Funds
       A.L.A. Trust
           Wells Fargo Bank NA Clearing          0.00        0.00         0.00    24,730.41             0.00              0.00            0.00            0.00         0.00         0.00
       Total A.L.A. Trust                        0.00        0.00         0.00    24,730.41             0.00              0.00            0.00            0.00         0.00         0.00

       BLUEISLE_WL
         Advanced Markets (UK) Ltd x1818         0.00        0.00         0.00         0.00       853,940.57              0.00            0.00            0.00         0.00         0.00
       Total BLUEISLE_WL                         0.00        0.00         0.00         0.00       853,940.57              0.00            0.00            0.00         0.00         0.00

       BLUEISLE2_WL
         Advanced Markets (UK) Ltd x1822         0.00        0.00         0.00         0.00        50,000.00              0.00            0.00            0.00         0.00         0.00
       Total BLUEISLE2_WL                        0.00        0.00         0.00         0.00        50,000.00              0.00            0.00            0.00         0.00         0.00

       Bryant E. Sewall
          Banco Popular xxxx8741           112,188.44        0.00         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
          Navy Federal CU xxxx7026               5.02        0.00         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
          Navy Federal CU xxxx7165             452.20        0.00         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
          Service Credit Union xxx86           181.26        0.00         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Total Bryant E. Sewall              112,826.92        0.00         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00

       Island Technologies LLC
           Banco Popular xxxx0862                0.00        0.00         0.00         0.00             0.00           500.00             0.00            0.00         0.00         0.00
           Banco Popular xxxx0846                0.00        0.00         0.00         0.00             0.00           500.00             0.00            0.00         0.00         0.00
           Banco Popular xxx9329                 0.00        0.00         0.00         0.00             0.00            15.00             0.00            0.00         0.00         0.00
           Banco Popular xxx9027                 0.00        0.00         0.00         0.00             0.00        61,564.52             0.00            0.00         0.00         0.00
       Total Island Technologies LLC             0.00        0.00         0.00         0.00             0.00        62,579.52             0.00            0.00         0.00         0.00

       Keystone Business Trust
          BBVA Compass xxxx3921                  0.00        0.00         0.00         0.00             0.00              0.00        10,239.84           0.00         0.00         0.00
          BBVA Compass xxxx3827                  0.00        0.00         0.00         0.00             0.00              0.00     1,359,337.46           0.00         0.00         0.00
       Total Keystone Business Trust             0.00        0.00         0.00         0.00             0.00              0.00     1,369,577.30           0.00         0.00         0.00

       Michael & Victoria Stewart                0.00    3,905.42         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Michael Stewart
          Banco Popular xxxx1784                 0.00   30,050.66         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
          Hughes Federal CU xxx6503              0.00       68.64         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
          Wells Fargo Bank xxxx9286              0.00      450.91         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Total Michael Stewart                     0.00   30,570.21         0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00




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                                                                                                                     Island
                                                                                      A.L.A.      Blue Isle       Technologies       Keystone       Salve Regina   Sandy Toes     West Beach
                                             Sewall       Stewart       Young         Trust      Markets Ltd.         LLC          Business Trust       Trust         LLC           LLC


       Michael Young
          Banco Popular xxxx9843                   0.00        0.00   262,773.38         0.00             0.00              0.00            0.00            0.00          0.00          0.00
          Key Bank xxxx6425                        0.00        0.00     5,334.52         0.00             0.00              0.00            0.00            0.00          0.00          0.00
          Key Bank xxxx7726                        0.00        0.00    25,934.98         0.00             0.00              0.00            0.00            0.00          0.00          0.00
       Total Michael Young                         0.00        0.00   294,042.88         0.00             0.00              0.00            0.00            0.00          0.00          0.00

       Sale of PR Property
           Drohan Lee LLP                          0.00        0.00         0.00         0.00             0.00              0.00            0.00    1,870,674.53          0.00          0.00
       Total Sale of PR Property                   0.00        0.00         0.00         0.00             0.00              0.00            0.00    1,870,674.53          0.00          0.00

       Sandy Toes LLC
          Drohan Lee LLP                           0.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00   2,434,590.35         0.00
       Total Sandy Toes LLC                        0.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00   2,434,590.35         0.00

       Victoria Stewart
           Wells Fargo Bank xxxx9200               0.00     500.96          0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00
       Total Victoria Stewart                      0.00     500.96          0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00

       West Beach LLC
          Banco Popular xxxx5590                   0.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00       5,662.86
       Total West Beach LLC                        0.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00       5,662.86


   Total Defendant & Corporate Funds         112,826.92   34,976.59   294,042.88    24,730.41       903,940.57        62,579.52      1,369,577.30   1,870,674.53   2,434,590.35      5,662.86

   Interest Income                                 0.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00
Total Funds Collected                        112,826.92   34,976.59   294,042.88    24,730.41       903,940.57        62,579.52      1,369,577.30   1,870,674.53   2,434,590.35      5,662.86

Expenses
   Real Property Expenses
      1197 Lloyds Rd Little Elm, TX
           Appraisal                           1,200.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00
           Electricity                            35.14        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00
       Total 1197 Lloyds Rd Little Elm, TX     1,235.14        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00

       1201 Lloyds Rd. Little Elm, TX
           Appraisal Services                  1,750.00        0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00          0.00
           Electricity
               2 Story House                    276.99         0.00         0.00         0.00             0.00              0.00            0.00            0.00          0.00           0.00



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                                                                                                                Island
                                                                                 A.L.A.      Blue Isle       Technologies       Keystone       Salve Regina   Sandy Toes   West Beach
                                          Sewall      Stewart      Young         Trust      Markets Ltd.         LLC          Business Trust       Trust         LLC         LLC
           Barn                              31.00       0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
           Garage Apt                       152.14       0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
           Point                             33.65       0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Total Electricity                    493.78       0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00

       Insurance                           1,356.39      0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Lawn and Yard Maintenance             356.00      0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Maintenance                           285.00      0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
   Total 1201 Lloyds Rd. Little Elm, TX    4,241.17      0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00

   5406 S. Cottonwood Ct.
       Property Taxes                         0.00       0.00     11,390.43         0.00             0.00              0.00            0.00           0.00          0.00         0.00
   Total 5406 S. Cottonwood Ct.               0.00       0.00     11,390.43         0.00             0.00              0.00            0.00           0.00          0.00         0.00

   7439 Casitas Del Rio Dr AZ
       Mortgage                               0.00       0.00          0.00    23,969.54             0.00              0.00            0.00           0.00          0.00         0.00
       Appraisal Services                     0.00       0.00          0.00     1,200.00             0.00              0.00            0.00           0.00          0.00         0.00
       Insurance                              0.00       0.00          0.00       447.29             0.00              0.00            0.00           0.00          0.00         0.00
       Locksmith Services                     0.00       0.00          0.00       369.72             0.00              0.00            0.00           0.00          0.00         0.00
   Total 7439 Casitas Del Rio Dr AZ           0.00       0.00          0.00    25,986.55             0.00              0.00            0.00            0.00         0.00         0.00

   8221 E Sheridan Scottsdale, AZ
       Appraisal Services                     0.00       0.00          0.00      1,725.00            0.00              0.00            0.00            0.00         0.00         0.00
       Insurance                              0.00       0.00          0.00        340.40            0.00              0.00            0.00            0.00         0.00         0.00
       Locksmith Services                     0.00       0.00          0.00        493.72            0.00              0.00            0.00            0.00         0.00         0.00
   Total 8221 E Sheridan Scottsdale, AZ       0.00       0.00          0.00      2,559.12            0.00              0.00            0.00            0.00         0.00         0.00

   Port Charlotte, FL Lots
       Appraisal Fees                         0.00       0.00        550.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Insurance                              0.00       0.00          9.68         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Property Taxes                         0.00       0.00      3,442.46         0.00             0.00              0.00            0.00            0.00         0.00         0.00
   Total Port Charlotte, FL Lots              0.00       0.00      4,002.14         0.00             0.00              0.00            0.00            0.00         0.00         0.00

Total Real Property Expenses               5,476.31      0.00     15,392.57    28,545.67             0.00              0.00            0.00            0.00         0.00         0.00

Receiver Fees & Costs
   Fees
       Receiver
           B. Kane                            0.00       0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00
       Total Receiver                         0.00       0.00          0.00         0.00             0.00              0.00            0.00            0.00         0.00         0.00



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                                                                                                                           Island
                                                                                            A.L.A.       Blue Isle      Technologies       Keystone       Salve Regina   Sandy Toes     West Beach
                                                  Sewall        Stewart       Young         Trust       Markets Ltd.        LLC          Business Trust       Trust         LLC           LLC


           Deputies
              A. Jen                                    0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              C. Callahan                               0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              C. DeCius                                 0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              H. Jen                                    0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              K. Johnson                                0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              T. Chung                                  0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
           Total Deputies                               0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00


       Total Fees                                       0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00

       Receiver Costs
          Website Support                               0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
       Total Receiver Costs                             0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00

       Legal Fees & Costs
          Barnes & Thornburg LLP
              Legal Fees                                0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              Legal Costs                               0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
           Total Barnes & Thornburg LLP                 0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00

           Engelman Berger, PC
              Legal Costs                               0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
              Legal Fees                                0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00
           Total Engelman Berger, PC                    0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00

        Total Legal Fees & Costs                        0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00

    Total Receiver Fees & Costs                         0.00        0.00          0.00          0.00            0.00              0.00             0.00           0.00           0.00         0.00


Total Expenses                                      5,476.31        0.00     15,392.57    28,545.67             0.00              0.00             0.00           0.00           0.00         0.00


Fund Balance 12/31/20                             107,350.61   34,976.59    278,650.31     (3,815.26)     903,940.57        62,579.52      1,369,577.30   1,870,674.53   2,434,590.35      5,662.86
Accrued Unpaid Expenses                                 0.00        0.00          0.00          0.00            0.00             0.00              0.00           0.00           0.00          0.00

Fund Balance Net of Accrued and Unpaid Expenses   107,350.61   34,976.59    278,650.31     (3,815.26)     903,940.57        62,579.52      1,369,577.30   1,870,674.53   2,434,590.35     5,662.86




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                                                    Asset Analysis      Asset          Case             Accounting/
                                                     & Recovery      Disposition    Administration       Auditing      TOTAL
    Funds Collected
       Defendant & Corporate Funds
           A.L.A. Trust
               Wells Fargo Bank NA Clearing                  0.00           0.00                 0.00          0.00     24,730.41
           Total A.L.A. Trust                                0.00           0.00                 0.00          0.00     24,730.41

           BLUEISLE_WL
             Advanced Markets (UK) Ltd x1818                 0.00           0.00                 0.00          0.00    853,940.57
           Total BLUEISLE_WL                                 0.00           0.00                 0.00          0.00    853,940.57

           BLUEISLE2_WL
             Advanced Markets (UK) Ltd x1822                 0.00           0.00                 0.00          0.00     50,000.00
           Total BLUEISLE2_WL                                0.00           0.00                 0.00          0.00     50,000.00

           Bryant E. Sewall
              Banco Popular xxxx8741                         0.00           0.00                 0.00          0.00    112,188.44
              Navy Federal CU xxxx7026                       0.00           0.00                 0.00          0.00          5.02
              Navy Federal CU xxxx7165                       0.00           0.00                 0.00          0.00        452.20
              Service Credit Union xxx86                     0.00           0.00                 0.00          0.00        181.26
           Total Bryant E. Sewall                            0.00           0.00                 0.00          0.00    112,826.92

           Island Technologies LLC
               Banco Popular xxxx0862                        0.00           0.00                 0.00          0.00        500.00
               Banco Popular xxxx0846                        0.00           0.00                 0.00          0.00        500.00
               Banco Popular xxx9329                         0.00           0.00                 0.00          0.00         15.00
               Banco Popular xxx9027                         0.00           0.00                 0.00          0.00     61,564.52
           Total Island Technologies LLC                     0.00           0.00                 0.00          0.00     62,579.52

           Keystone Business Trust
              BBVA Compass xxxx3921                          0.00           0.00                 0.00          0.00      10,239.84
              BBVA Compass xxxx3827                          0.00           0.00                 0.00          0.00   1,359,337.46
           Total Keystone Business Trust                     0.00           0.00                 0.00          0.00   1,369,577.30

           Michael & Victoria Stewart                        0.00           0.00                 0.00          0.00      3,905.42
           Michael Stewart
              Banco Popular xxxx1784                         0.00           0.00                 0.00          0.00     30,050.66
              Hughes Federal CU xxx6503                      0.00           0.00                 0.00          0.00         68.64
              Wells Fargo Bank xxxx9286                      0.00           0.00                 0.00          0.00        450.91
           Total Michael Stewart                             0.00           0.00                 0.00          0.00     30,570.21




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                                                       Asset Analysis      Asset          Case             Accounting/
                                                        & Recovery      Disposition    Administration       Auditing      TOTAL


           Michael Young
              Banco Popular xxxx9843                            0.00           0.00                 0.00          0.00    262,773.38
              Key Bank xxxx6425                                 0.00           0.00                 0.00          0.00      5,334.52
              Key Bank xxxx7726                                 0.00           0.00                 0.00          0.00     25,934.98
           Total Michael Young                                  0.00           0.00                 0.00          0.00    294,042.88

           Sale of PR Property
               Drohan Lee LLP                                   0.00           0.00                 0.00          0.00   1,870,674.53
           Total Sale of PR Property                            0.00           0.00                 0.00          0.00   1,870,674.53

           Sandy Toes LLC
              Drohan Lee LLP                                    0.00           0.00                 0.00          0.00   2,434,590.35
           Total Sandy Toes LLC                                 0.00           0.00                 0.00          0.00   2,434,590.35

           Victoria Stewart
               Wells Fargo Bank xxxx9200                        0.00           0.00                 0.00          0.00        500.96
           Total Victoria Stewart                               0.00           0.00                 0.00          0.00        500.96

           West Beach LLC
              Banco Popular xxxx5590                            0.00           0.00                 0.00          0.00      5,662.86
           Total West Beach LLC                                 0.00           0.00                 0.00          0.00      5,662.86


       Total Defendant & Corporate Funds                        0.00           0.00                 0.00          0.00   7,113,601.93

       Interest Income                                          0.00           0.00           1,968.16            0.00      1,968.16
    Total Funds Collected                                       0.00           0.00           1,968.16            0.00   7,115,570.09

    Expenses
       Real Property Expenses
          1197 Lloyds Rd Little Elm, TX
               Appraisal                                        0.00           0.00                 0.00          0.00      1,200.00
               Electricity                                      0.00           0.00                 0.00          0.00         35.14
           Total 1197 Lloyds Rd Little Elm, TX                  0.00           0.00                 0.00          0.00      1,235.14

           1201 Lloyds Rd. Little Elm, TX
               Appraisal Services                               0.00           0.00                 0.00          0.00      1,750.00
               Electricity
                   2 Story House                                0.00           0.00                 0.00          0.00        276.99



                                                                                                                                        Page 10 of 12
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                                  SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                  Receivership Administrative Report - by Class
                                      From Inception (September 11, 2020) to December 31, 2020


                                                    Asset Analysis      Asset          Case             Accounting/
                                                     & Recovery      Disposition    Administration       Auditing     TOTAL
                 Barn                                        0.00           0.00                 0.00          0.00      31.00
                 Garage Apt                                  0.00           0.00                 0.00          0.00     152.14
                 Point                                       0.00           0.00                 0.00          0.00      33.65
             Total Electricity                               0.00           0.00                 0.00          0.00     493.78

             Insurance                                       0.00           0.00                 0.00          0.00    1,356.39
             Lawn and Yard Maintenance                       0.00           0.00                 0.00          0.00      356.00
             Maintenance                                     0.00           0.00                 0.00          0.00      285.00
         Total 1201 Lloyds Rd. Little Elm, TX                0.00           0.00                 0.00          0.00    4,241.17

         5406 S. Cottonwood Ct.
             Property Taxes                                  0.00           0.00                 0.00          0.00   11,390.43
         Total 5406 S. Cottonwood Ct.                        0.00           0.00                 0.00          0.00   11,390.43

         7439 Casitas Del Rio Dr AZ
             Mortgage                                        0.00           0.00                 0.00          0.00   23,969.54
             Appraisal Services                              0.00           0.00                 0.00          0.00    1,200.00
             Insurance                                       0.00           0.00                 0.00          0.00      447.29
             Locksmith Services                              0.00           0.00                 0.00          0.00      369.72
         Total 7439 Casitas Del Rio Dr AZ                    0.00           0.00                 0.00          0.00   25,986.55

         8221 E Sheridan Scottsdale, AZ
             Appraisal Services                              0.00           0.00                 0.00          0.00    1,725.00
             Insurance                                       0.00           0.00                 0.00          0.00      340.40
             Locksmith Services                              0.00           0.00                 0.00          0.00      493.72
         Total 8221 E Sheridan Scottsdale, AZ                0.00           0.00                 0.00          0.00    2,559.12

         Port Charlotte, FL Lots
             Appraisal Fees                                  0.00           0.00                 0.00          0.00      550.00
             Insurance                                       0.00           0.00                 0.00          0.00        9.68
             Property Taxes                                  0.00           0.00                 0.00          0.00    3,442.46
         Total Port Charlotte, FL Lots                       0.00           0.00                 0.00          0.00    4,002.14

      Total Real Property Expenses                           0.00           0.00                 0.00          0.00   49,414.55

      Receiver Fees & Costs
         Fees
             Receiver
                 B. Kane                                   957.60         171.00           7,011.00            0.00    8,139.60
             Total Receiver                                957.60         171.00           7,011.00            0.00    8,139.60



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                                       SEC v. Mediatrix Capital Inc. et al. Receivership QSF
                                       Receivership Administrative Report - by Class
                                         From Inception (September 11, 2020) to December 31, 2020


                                                       Asset Analysis       Asset          Case           Accounting/
                                                        & Recovery       Disposition    Administration     Auditing         TOTAL


               Deputies
                  A. Jen                                      342.00            0.00          8,173.80          410.40        8,926.20
                  C. Callahan                               4,657.50            0.00          8,325.00            0.00       12,982.50
                  C. DeCius                                   121.50            0.00              0.00        1,603.80        1,725.30
                  H. Jen                                        0.00            0.00             15.00            0.00           15.00
                  K. Johnson                               10,191.60        3,454.20              0.00            0.00       13,645.80
                  T. Chung                                      0.00            0.00          3,376.80            0.00        3,376.80
               Total Deputies                              15,312.60        3,454.20         19,890.60        2,014.20       40,671.60


            Total Fees                                     16,270.20        3,625.20         26,901.60        2,014.20       48,811.20

            Receiver Costs
               Website Support                                   0.00           0.00            306.09            0.00         306.09
            Total Receiver Costs                                 0.00           0.00            306.09            0.00         306.09

            Legal Fees & Costs
               Barnes & Thornburg LLP
                   Legal Fees                              37,360.40         148.50          19,425.00            0.00       56,933.90
                   Legal Costs                                  0.00           0.00           1,437.53            0.00        1,437.53
               Total Barnes & Thornburg LLP                37,360.40         148.50          20,862.53            0.00       58,371.43

               Engelman Berger, PC
                  Legal Costs                                   0.00            0.00             98.54            0.00           98.54
                  Legal Fees                                4,341.50        3,211.00             95.00            0.00        7,647.50
               Total Engelman Berger, PC                    4,341.50        3,211.00            193.54            0.00        7,746.04

            Total Legal Fees & Costs                       41,701.90        3,359.50         21,056.07            0.00       66,117.47

        Total Receiver Fees & Costs                        57,972.10        6,984.70         48,263.76        2,014.20      115,234.76


    Total Expenses                                         57,972.10        6,984.70         48,263.76        2,014.20      164,649.31


    Fund Balance 12/31/20                                        0.00           0.00          1,968.16            0.00    7,066,155.54
    Accrued Unpaid Expenses                                (57,972.10)     (6,984.70)       (48,263.76)      (2,014.20)    (115,234.76)

    Fund Balance Net of Accrued and Unpaid Expenses       (57,972.10)      (6,984.70)       (46,295.60)      (2,014.20)   6,950,920.78




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             EXHIBIT B
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Creditor                    Address                            Amount

SWH Funding                 1649 E Bethany Home Rd             $379,652
                            Phoenix, AZ 85016

Evergreen                   1016 57th Street East, Suite 100   $348,239
                            Sumner, WA 9839

Alternative Collections LLC 5173 Sheridan Drive                $37,898
                            Williamsville, NY 14221


USAA Federal Savings Bank 10750 McDermott Freeway San          $6,662
                            Antonio , TX 78288
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 29th day of January, 2021, I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system which will send notification of such filing

   to parties or counsel registered through ECF. In addition, I hereby certify that I have mailed or

   served the foregoing document or paper to the following non-CM/ECF participants in the

   manner indicated by the non-participant’s name:

                                         Aaron Stewart
                                         23800 North 73rd Place
                                         Scottsdale, AZ 85255



                                                   /s/ Stephanie L. Moore




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